        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 1 of 28



 1   Raymond D. Schild, Esq. (SBN 3937)
     THE BOISE LAW FIRM, PLLC
 2   2484 N. Stokesberry Place, Suite 100
 3   Meridian, ID 83646
     Telephone: (208) 336-1145
 4   Email: ray@boiseattorney.com

 5   Counsel for Plaintiff
 6   Hans W. Herb, Esq. (CA SBN 136018)
 7   LAW OFFICES OF HANS W. HERB
     P. O. Box 970
 8   Santa Rosa, CA 95402
     Telephone: (707) 576-0757
 9   Email: hans@tankman.com
10
     Pro Hac Vice Counsel for Plaintiff
11   Pamela D. Pringle

12                                    UNITED STATES DISTRICT COURT
13                                     FOR THE DISTRICT OF IDAHO
14

15
      PAMELA D. PRINGLE,                              No.
16
                         Plaintiff,                   CIVIL RIGHTS COMPLAINT FOR
17                                                    DAMAGES, DECLARATORY JUDGMENT
             v.                                       AND INJUNCTIVE RELIEF; DEMAND FOR
18                                                    JURY TRIAL
      DAN FRUCHTENICHT, SYLVIA DIAZ,
19    JEFF GREEN, CHRISTOPHER
                                                      42 USC Section 1983
      SMALLING, SANDY JONES, JUDY                     1st, 5th, 8th and 14th Amendments
20    MESICK, MARK ALAN KUBINSKI,                     California Penal Code 136.1(a)
      ELISA SUE MAGNUSON, and DOES 1-
21    50, inclusive,
22                       Defendants.
23

24          Plaintiff PAMELA D. PRINGLE (“Plaintiff”), through her undersigned counsel and upon

25   information and belief, alleges the following.
26

27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 1
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 2 of 28



 1                                               INTRODUCTION
 2           1.      This case is essentially about the abuse of power, initially undertaken by
 3
     Idaho state officials, who conspired amongst themselves to harass and traumatize
 4
     Plaintiff and deprive her of the right to equal protection of the law and due process, in
 5
     retaliation for Plaintiff’s filing of numerous grievances and several lawsuits while she
 6

 7   was serving a prison term in the state of Idaho. The Idaho state Defendants (Sandy Jones,

 8   Judy Mesick, Mark Alan Kubinski and Elisa Sue Magnuson), further retaliated against

 9   Plaintiff for filing a civil rights suit after her release from prison, (Pringle v. Gentry, et
10
     al., U.S. District Court, Eastern District of California Case No. 2:17-cv-2206, filed
11
     October 23, 2017), by conspiring with the California Defendants (Dan Fruchtenicht,
12
     Sylvia Diaz, Jeff Green and Christopher Smalling) to violate Plaintiff’s parole without
13
     due process or equal protection, in an attempt to detain Plaintiff, return her to prison and
14

15   terminate the lawsuit.

16                                                    PARTIES
17           2.      Plaintiff PAMELA DENISE PRINGLE is a United States citizen.
18
     Plaintiff is, and at all relevant times herein was, a resident of the State of California,
19
     County of Yolo.
20
             3.      Defendant DAN FRUCHTENICHT is the Chief Probation Officer for the
21

22   Yolo County Probation Department in Yolo County, California (“YCPB”). Upon

23   information and belief, Defendant Fruchtenicht is responsible for the administration of

24   the Yolo County Probation Department, and for setting the policies, customs and
25   practices of the Department, as well as for training of its probation officers. At all
26
     relevant times, Defendant Fruchtenicht acted under color of law within the course and
27
     scope of his duties as an official of the County of Yolo and is personally responsible for
28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 2
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 3 of 28



 1   the deprivation of Plaintiff’s civil rights outlined herein. Defendant Fruchtenicht is sued in his
 2   individual capacity for damages and his official capacity for prospective injunctive and
 3
     declaratory relief.
 4
             4.      Defendant SYLVIA DIAZ is a Probation Officer employed by the Yolo County
 5
     Probation Department in Yolo County, California (“YCPB”). At all relevant times, Defendant
 6

 7   Diaz acted under color of law within the course and scope of her duties as an official of the

 8   County of Yolo and is personally responsible for the deprivation of Plaintiff’s civil rights

 9   outlined herein. Defendant Diaz is sued in her individual capacity for damages and her official
10
     capacity for prospective injunctive and declaratory relief.
11
             5.      Defendant JEFF GREEN is the state Commissioner and Compact Administrator
12
     for the California Interstate Commission for Adult Offender Supervision (“ICAOS”) in
13
     Sacramento, California. Upon information and belief, Defendant Green is responsible for
14

15   administering the Interstate Compact for probationers and parolees transferring supervision of

16   their probation or parole from or to California, including administration of the California
17   Interstate Compact Offender Tracking System (“ICOTS”), and for setting the policies, customs
18
     and practices of the Department, as well as for training and supervision of the Deputy Compact
19
     Commissioner and the ICOTS Probation and Parole Administrators working within the
20
     Department.
21

22           6.      ICOTS is a web-based system that facilitates the transfer of supervision for

23   probationers and parolees from one state to another. These activities include processing Interstate

24   Compact Applications, and providing notifications of departures, arrivals, progress, violations,
25   and case closures. ICOTS also serves as a conduit for miscellaneous communication exchanges
26
     and supervision policies for offenders under supervision in another state.
27

28

                           COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 3
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 4 of 28



 1          7.      At all relevant times, Defendant Green acted under color of law within the
 2   course and scope of his duties as an official of the state of California and is personally
 3
     responsible for the deprivation of Plaintiff’s civil rights outlined herein. Defendant
 4
     Green is sued in his individual capacity for damages and his official capacity for
 5
     prospective injunctive and declaratory relief.
 6

 7          8.      Defendant CHRISTOPHER SMALLING is the Deputy Compact

 8   Administrator for the California Interstate Commission for Adult Offender Supervision

 9   (“ICAOS”) in Sacramento, California. Upon information and belief, Defendant
10
     Smalling, under the supervision of Defendant Jeff Green, is responsible for administering
11
     the Interstate Compact for probationers and parolees transferring supervision of their
12
     probation or parole from or to California, including administration of the California
13
     Interstate Compact Offender Tracking System (“ICOTS”), and for setting the policies,
14

15   customs and practices of the Department, as well as for training and supervision of the

16   Deputy Compact Commissioner and the ICOTS Probation and Parole Administrators
17   working within the Department.
18
            9.      At all relevant times, Defendant Smalling acted under color of law within
19
     the course and scope of his duties as an official of the state of California and is personally
20
     responsible for the deprivation of Plaintiff’s civil rights outlined herein. Defendant
21

22   Smalling is sued in his individual capacity for damages and his official capacity for

23   prospective injunctive and declaratory relief.

24          10.     Defendant SANDY JONES is and was at all times mentioned herein the
25   Executive Director for the Idaho Commission of Pardons and Parole in Boise, Idaho.
26
     Upon information and belief, Defendant Jones is responsible for the administration of
27
     Idaho’s parole system for all offenders convicted of a felony in Idaho and sentenced to
28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 4
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 5 of 28



 1   prison time, including the responsibility for overseeing the Idaho Parole hearing officers and
 2   Commissioners who make decisions regarding the granting or revocation of parole, for
 3
     establishing special conditions of parole, and for issuing Parole Commission Warrants for parole
 4
     violations. At all relevant times, Defendant Jones acted under color of law within the course
 5
     and scope of her duties as an official of the state of Idaho and is personally responsible for the
 6

 7   deprivation of Plaintiff’s civil rights outlined herein. Defendant Jones is sued in her individual

 8   capacity for damages and her official capacity for prospective injunctive and declaratory relief.

 9           11.     Defendant JUDY MESICK is and was at all times mentioned herein the Deputy
10
     Interstate Compact Commissioner and the state ICOTS Administrator for the Idaho Interstate
11
     Commission for Adult Supervision in Boise, Idaho. Upon information and belief, Defendant
12
     Mesick (under the direction of the Idaho Interstate Compact Commissioner) is responsible for
13
     administering the Interstate Compact for probationers and parolees transferring supervision of
14

15   their probation or parole from or to Idaho, including administration of the Idaho Interstate

16   Compact Offender Tracking System (“ICOTS”), as well as for training and supervision of the
17   Idaho Interstate Compact Coordinators and the Interstate Probation and Parole officers working
18
     within the Department.
19
             12.     At all relevant times, Defendant Mesick acted under color of law within the
20
     course and scope of her duties as an official of the state of Idaho and is personally responsible for
21

22   the deprivation of Plaintiff’s civil rights outlined herein. Defendant Mesick is sued in her

23   individual capacity for damages and her official capacity for prospective injunctive and

24   declaratory relief.
25           13.     Defendant MARK ALAN KUBINSKI is and was at all times mentioned herein an
26
     attorney licensed to practice in the state of Idaho, employed by Idaho Attorney General’s office
27
     as a Deputy Attorney General assigned to the Idaho Department of Corrections (“IDOC”) and
28

                           COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 5
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 6 of 28



 1   the Idaho Commission for Pardons and Parole. Upon information and belief, Defendant
 2   Kubinski is essentially an IDOC official, as he maintains an office at the IDOC headquarters in
 3
     Boise, Idaho, rather than at the office of the Idaho Attorney General and is responsible
 4
     for overseeing and administering all legal matters within the IDOC and Parole
 5
     Commission. At all relevant times, Defendant Kubinski acted under color of law within
 6

 7   the course and scope of his duties as an official of the state of Idaho and is personally

 8   responsible for the deprivation of Plaintiff’s civil rights outlined herein. Defendant

 9   Kubinski is sued in his individual capacity for damages and his official capacity for
10
     prospective injunctive and declaratory relief.
11
            14.     Defendant ELISA SUE MAGNUSON is and was at all times mentioned
12
     herein an attorney licensed to practice in both Idaho and California, employed by the
13
     Idaho Attorney General’s office as a Deputy Attorney General for the state of Idaho.
14

15   Defendant Magnuson was assigned by the Idaho Attorney General’s office to represent

16   Defendants Jones, Gentry, McDonald, Mesick and Kubinski in the matter entitled Pringle
17   v. Gentry, et al., U.S. District Court, Eastern District of California Case No. 2:17-cv-2206
18
     TLN, filed October 23, 2017, as well as the matter entitled Pringle v. Cardall et al., U.S.
19
     District Court, Eastern District of California Case No. 2:18-cv-02035 WBS, filed July 25,
20
     2018. At all relevant times, Defendant Magnuson acted under color of law within the
21

22   course and scope of her duties as an official of the state of Idaho and is personally

23   responsible for the deprivation of Plaintiff’s civil rights outlined herein. Defendant

24   Magnuson is sued in her individual capacity for damages and her official capacity for
25   prospective injunctive and declaratory relief.
26
            15.     The true names of Defendant DOES 1-50, inclusive are unknown to
27
     Plaintiff, who therefore sues them by fictitious names. Plaintiff alleges that Defendant
28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 6
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 7 of 28



 1   DOES 1-50, inclusive, are employees of either the Idaho Commission for Pardons and Parole,
 2   Idaho Department of Correction, Idaho Attorney General’s office, Idaho Interstate Commission
 3
     for Adult Supervision, California Interstate Commission for Adult Supervision, County of Yolo,
 4
     Yolo County Probation Department other Idaho or California governmental entities responsible
 5
     in some way for the injuries and damages suffered by Plaintiff.    At all relevant times herein,
 6

 7   these unnamed Defendants were acting under “color of state law” and are sued in both their

 8   individual and official capacities.

 9          16.     Plaintiff will amend her complaint to state the true names and capacities of
10
     Defendant DOES 1-50, inclusive, when they have been ascertained.
11
            17.     Each named and DOE defendant was the agent or employee of co-defendants, and
12
     in doing the things alleged, were acting within the scope and course of such agency or
13
     employment and with the actual or implied permission, consent, authorization and approval of
14

15   said co-defendant.

16                                    JURISDICTION AND VENUE

17          18.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

18   §§1331 and 1343 in that the controversy arises under the United States Constitution and under 42

19   U.S.C. §1983. This Court has authority to award attorney fees pursuant to 42 U.S.C. §1988.

20   Jurisdiction also exists under the Declaratory Judgment Act, 28 U.S.C. §§ 2201(a) and 2202.
21          19.     This Court has supplemental jurisdiction over Plaintiff’s pendent state law claims
22   under 28 U.S.C. §1367(a), as those claims arose out of the same transactions and occurrences as
23   Plaintiff’s federal question claims.
24          20.     Venue is this matter properly lies in the United States District Court for the
25   Eastern District of California under 28 U.S.C. §1391(b)(2) because all of the acts and/or
26
     omissions described in this Complaint, and their resulting harm to Plaintiff, occurred in that
27

28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 7
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 8 of 28



 1   District, including violation of California Penal Code Section 136.1 by Defendants Elisa

 2   Sue Magnuson, Mark Alan Kubinski, Judy Mesick and Sandy Jones.
 3          21.     Venue is also proper in the United States District Court for the Eastern
 4   District of California judicial district under 28 U.S.C. §1391(b)(3) because Plaintiff
 5   resides within that District, and four or more of the Defendants reside and are employed
 6   within the District.
 7          22.     Plaintiff is filing this suit in the District of Idaho for the sole reason that
 8
     the Eastern District of California has twice transferred and/or dismissed related cases
 9
     against the same Idaho defendants as named herein for alleged lack of personal
10
     jurisdiction (Defendants Sandy Jones, Judy Mesick, Mark Alan Kubinski and Elisa Sue
11
     Magnuson).
12
                                        FACTUAL ALLEGATIONS
13
            23.    On November 1, 2016, Plaintiff was released on parole from an Idaho
14
     prison after serving three and a half years of a six-year sentence which she received in an
15
     Idaho state court for committing a financial crime in 2011, due to an untreated gambling
16
     addiction.
17
            24.    Previously, during the pendency of Plaintiff’s Idaho prison sentence, she
18
     had been subject to intense personal animus and retaliatory acts constituting grievous
19
     civil rights violations by some of the named defendants in this action and other Idaho
20

21   government officials, arising from Plaintiff’s filing of numerous grievances and legal

22   actions against the Idaho officials for malfeasance and unlawful acts.

23          25.    At the time Plaintiff’s term of incarceration commenced, she had been a

24   resident of Idaho for more than seven years. However, Plaintiff was informed by Idaho

25   parole commissioners under the supervision of Defendant Sandy Jones, as well as various

26   other Idaho officials and employees of the Idaho Department of Corrections and the

27   Idaho Parole Commission, that Idaho parole officials would not release Plaintiff from
28

                            COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 8
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 9 of 28



 1   prison onto parole unless she agreed to parole to California, Plaintiff’s former state of residence.

 2          26.    At all relevant times herein, Plaintiff was a resident of the state of California,
 3   Defendants’ actions all occurred within California or were purposefully directed towards her and
 4   the state of California, the Idaho defendants (Defendants Mark Alan Kubinski, Elisa Sue
 5   Magnuson, Judy Mesick and Sandy Jones) made numerous contacts with individuals located
 6   within the state of California, including the named California defendants (Defendants Dan
 7   Fruchtenicht, Sylvia Diaz, Jeff Green and Christopher Smalling) and others, and the effects of all
 8
     named Defendants’ actions were felt solely within the state of California. Furthermore, nearly
 9
     all the witnesses and evidence of the unlawful actions as described herein are physically located
10
     within the state of California.
11
            27.    The sole reason that the Idaho officials insisted that Plaintiff parole to California
12
     was to prevent Plaintiff from pursuing several pending lawsuits against Idaho officials filed in
13
     Idaho state courts; as they believed that Plaintiff would be unable to continue pursuing those
14
     actions against them if she paroled to California. Based upon that premise, Idaho parole officials
15
     instituted a condition of parole on Plaintiff that she was prohibited from travelling to Idaho
16
     during the pendency of her parole.
17
            28.    Various Idaho officials, including Defendants Judy Mesick and Mark Alan
18
     Kubinski, arranged for Plaintiff’s parole to be supervised by Yolo County Probation Department
19
     (YCPD) under the Interstate Compact Act. Plaintiff’s supervising parole agent at YCPD was
20

21   Defendant Sylvia Diaz, who was and is supervised by Defendant Fruchtenicht.

22          Issuance of a False and Retaliatory Parole Violation Report and Arrest Warrant

23          29.    Between February 7, 2017, and April 26, 2017, Plaintiff met with Defendant

24   Sylvia Diaz in person on three separate occasions and spoke with Defendant Diaz on the

25   telephone on at least two occasions. The majority of the communications between Plaintiff and

26   Defendant Diaz focused on the history of the Idaho officials’ previous retaliatory acts and civil

27   rights violations against Plaintiff, including delineation of ongoing harassment. Specifically,
28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 9
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 10 of 28



 1   Plaintiff relayed to Defendant Diaz on several occasions that Plaintiff was in the process

 2   of filing a civil rights action against the Idaho officials.
 3           30.    On April 27, 2017, Defendant Sylvia Diaz placed Plaintiff on a limited
 4   form of supervision referred to as the “Telephone Reporting System,” under which the
 5   only requirement of supervision was for Plaintiff to call an 800 number on the fourth day
 6   of every month and answer a few basic questions about her residence and employment.
 7           31.    Transfer from active supervision onto the YCPD’s Telephone Reporting
 8
     System’s limited supervision program is an incentive available to probationers and
 9
     parolees who have demonstrated full compliance with all terms of their probation/parole
10
     set by the YCPD and have exhibited a positive attitude. In this case, Plaintiff received
11
     this incentive because she had no history of issues or violations with the YCPD and had
12
     been fully cooperative with all agents of the YCPD.
13
             32.     Plaintiff successfully completed her monthly Telephone Reporting System
14
     check-in calls on May 4, 2017; June 4, 2017; July 4, 2017, August 4, 2017, September 4,
15
     2017, and October 4, 2017, and was not due to check in again until November 4, 2017.
16
             33.     At all times between May 4, 2017 and November 3, 2017, Plaintiff fully
17
     complied with the requirements of the YCPD’s Telephone Reporting System’s limited
18
     supervision program for supervised felony offenders.
19
             34.     Between January 2017 and November 2017, Defendants Judy Mesick,
20

21   Sylvia Diaz, Dan Fruchtenicht, Jeff Green, Christopher Smalling and/or their authorized

22   representatives or government employees working with them or under their control,

23   communicated through the ICOTS system (originating in California) and by telephone

24   and email with regard to Plaintiff. Included in those communications was specific

25   information relating to Plaintiff’s intent to file a civil rights lawsuit against Idaho

26   officials.

27

28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 10
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 11 of 28



 1           35.     Between February and October of 2017, Defendants Judy Mesick, Sandy Jones

 2   and Mark Alan Kubinski communicated regarding Plaintiff’s intent to file a lawsuit against them
 3   and other Idaho officials and began conspiring with California Defendants Dan Fruchtenicht,
 4   Sylvia Diaz, Jeff Green, and Christopher Smalling to engineer a false parole violation against
 5   Plaintiff for absconding in the event that Plaintiff followed through with filing a civil rights suit.
 6           36.     On October 22, 2017, Plaintiff finished preparing her civil rights suit against
 7   various Idaho state prison and parole officials, including Defendants Judy Mesick, Sandy Jones
 8
     and Mark Alan Kubinski, among others, and emailed a courtesy copy to Defendants Judy
 9
     Mesick, Sandy Jones and Mark Alan Kubinski, along with multiple members of the Idaho
10
     Attorney General’s office. The communication included a confidential letter which offered the
11
     Defendants an opportunity to settle the matter prior to suit being filed.
12
             37.     Later that day, Plaintiff was copied on an email that Defendant Mark Alan
13
     Kubinski had sent to Defendants Judy Mesick and Sandy Jones indicating that they were not to
14
     contact Plaintiff to attempt to settle, but that they were instead to contact him if they were served
15
     with the Complaint.
16
             38.     On October 23, 2017, Plaintiff filed her civil rights suit (in propria persona) in
17
     the U.S. District Court for the Eastern District of California, Pringle v. Gentry, et al. Case No.
18
     2:17-cv-2206.
19
             39.     Plaintiff’s Complaint in the Pringle v. Gentry matter contained specific
20

21   information indicating that Idaho officials (including Defendants Mark Alan Kubinski, Judy

22   Mesick and Sandy Jones) had for years engaged in a pattern of calculated harassment and

23   retaliation against Plaintiff, arising out of her protected conduct of filing numerous grievances

24   against Idaho state officials, as well as two Petitions for Writ of Habeas Corpus, and for assisting

25   many other Idaho prison inmates with filing grievances and legal documents against Idaho state

26   officials, all of which were warranted by those officials’ prolific civil rights violations and

27   fraudulent activities.
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 11
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 12 of 28



 1          40.     In light of Plaintiff’s extensive history of being harassed by the Idaho

 2   Defendants and other Idaho state officials, after filing the Complaint in this matter and
 3   forwarding the courtesy copies to the Idaho Defendants, Plaintiff began regularly
 4   checking her parole status on the IDOC Offender Search [status] Database that IDOC
 5   maintains for public inquiries.
 6          41.     The IDOC Offender Search Database is updated daily and indicates for
 7   every individual who has been sentenced to prison at any IDOC facility, the offender’s
 8
     place of incarceration and parole eligibility date [for currently incarcerated individuals];
 9
     and for parolees, the date on which the offender was paroled and their Sentence
10
     Satisfaction Date (the date on which parole expires).
11
            42.     Plaintiff checked her parole status on the IDOC Offender Search Database
12
     daily between October 23, 2017, and November 3, 2017.
13
            43.     As of 4:23 a.m. on October 26, 2017, Plaintiff’s parole status as reported on
14
     the IDOC Offender Search Database was “Released to [parole] Supervision on 11/1/16,”
15
     with a Sentence Satisfaction Date of May 5, 2018 -- the date on which Plaintiff was
16
     entitled to full release from parole.
17
            44.     On November 3, 2017, Plaintiff again checked the IDOC Offender
18
     Database and was shocked and dismayed to discover that as of 4:16 a.m. that morning,
19
     her offender parole status had inexplicably been amended to “Fugitive.”
20

21          45.     Plaintiff is informed and believes that when the term “Fugitive” appears on

22   the IDOC Offender Search Database, it evidences that the Idaho Parole Commission has

23   filed a parole violation warrant against the parolee which alleges absconding.

24          46.     However, Plaintiff had not in fact absconded from supervision, as she had

25   successfully completed the sole supervisory component of her parole supervision by the

26   YCPD set by Defendants Sylvia Diaz and Dan Fruchtenicht—the check-in calls—and

27   was not due to call in again until November 4, 2017, the day after Plaintiff discovered the
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 12
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 13 of 28



 1   issuance of a parole violation warrant by Defendant Sandy Jones, as Executive Director of the

 2   Idaho Parole Commission.
 3           47.    Here, the timing says it all: Plaintiff forwarded courtesy copies of the Pringle v.
 4   Gentry Complaint to the Idaho Defendants on October 22, 2017; the Complaint was filed on
 5   October 23, 2017; and the parole violation warrant was issued by Defendant Sandy Jones on or
 6   about November 2, 2017. Because Plaintiff had checked in through the YCPD Telephone
 7   Reporting System on October 4, 2017, and was not due to check in again until November 4,
 8
     2017, there would have been no reason for Defendants Sylvia Diaz or Dan Fruchtenicht to
 9
     believe that Plaintiff had absconded on or before November 2, 2017, the date on which the parole
10
     violation warrant alleging absconding was issued.
11
             48.    Plaintiff contends that Idaho Defendants Jones, Mesick and Kubinski conspired
12
     with each other to violate Plaintiff’s parole out of retaliation for Plaintiff’s continued filing of
13
     lawsuits against them and convinced the California Defendants Dan Fruchtenicht, Sylvia Diaz,
14
     Jeff Green and Christopher Smalling to cooperate with them to issue a false parole violation
15
     report against Plaintiff which alleged that Plaintiff had absconded.
16
             49.    Idaho officials, including Defendant Mark Alan Kubinski, have a long history of
17
     destroying and falsifying documents and hiding and otherwise obfuscating evidence of their
18
     culpability, in order to immunize Idaho officials from civil liability.
19
             50.    One example of this is Defendant Mark Alan Kubinski, who has been the sole
20

21   legal advisor for the Idaho Department of Corrections and the Idaho Parole Commission for

22   many years, conspiring between 2012-2013 with former Idaho State Correctional Institution

23   Deputy Warden Shell Wamble-Fisher to alter and destroy prisoner medical records to hide from

24   a Special Master appointed in the Balla v. IDOC matter that a number of prisoners in that

25   institution had been diagnosed with Gender Identity Disorder, simply because the state of Idaho

26   did not want to pay for expensive treatment of those affected prisoners.

27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 13
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 14 of 28



 1          51.    In addition, within the past ten years, there have been a number of state and

 2   federal lawsuits against Idaho officials of the Idaho Department of Corrections and/or
 3   Idaho Parole Commission in which Defendant Mark Alan Kubinski has conspired with
 4   the defendants in those matters to take actions which are unlawful or which constitute
 5   fraud and deceit, solely in a misguided attempt to “save the Idaho taxpayers” from having
 6   to bear the burden of the cost of the Idaho government officials and employee’s misdeeds
 7   and malfeasance.
 8
            52.    Plaintiff is also aware that Defendant Mark Alan Kubinski advised the
 9
     Idaho defendants in the related action Pringle v. Cardall, et al., US District Court Case
10
     No. 2:18-cv-02025, filed in Eastern District-California, to ignore the summons and
11
     complaint served on them by Plaintiff’s counsel in that matter, which actions resulted in
12
     default being entered against them and monetary sanctions being imposed by US District
13
     Court Judge William B. Shubb, for the Eastern District of California, Sacramento
14
     Division.
15
            53.    At all relevant times herein, Plaintiff’s parole supervision was governed by
16
     the Rules of the Interstate Commission for Adult Offender Supervision (ICAOS), given
17
     that her parole supervision had been involuntarily transferred from Idaho to California
18
     through the Interstate Compact Act/ICAOS by the Idaho defendants.
19
            54.    ICAOS Rules pertaining to Interstate Compact supervision require that any
20

21   report of serious violation, which would include allegations of absconding, must be

22   initiated by the supervising agent in the receiving state (the state to which the offender

23   transferred) and sent through the ICAOS Commission offices in the respective states

24   (Sacramento, California and Boise, Idaho).

25          55.    As applicable to Plaintiff, any parole violation report would have had to be

26   first initiated by Defendants Fruchtenicht or Diaz or another Probation Officer working

27   for the YCPD and submitted through the ICOTS system in Woodland, California to
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 14
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 15 of 28



 1   Defendants Green and Smalling in the Sacramento, California ICAOS office, who were

 2   responsible for communicating with Defendant Mesick at the Boise, Idaho ICAOS office
 3   regarding the parole violation alleged against Plaintiff.
 4           56.   Further, any arrest warrant for absconding would have had to be initially issued by
 5   Defendants Fruchtenicht or Diaz as an agent’s warrant.
 6           57.   The foregoing procedure was not followed in this case. There would have been no
 7   reason for a parole violation to have been initiated by the YCPD against Plaintiff for absconding,
 8
     absent a request initiated by Defendants Jones, Mesick and Kubinski, as Plaintiff was on
 9
     unsupervised parole through the YCPD and was fully compliant with all conditions of her
10
     supervision. To date, no agent’s arrest warrant for parole violation has ever been issued by the
11
     YCPD.
12
             58.   In fact, no official parole violation report was prepared by any of the named
13
     Defendants until after the Idaho and California Defendants were served with the related case of
14
     Pringle v. Cardall, US District Court Case No. 2:18-cv-02035 WBS (ND-Cal). At that time, all
15
     the named Defendants herein conspired to produce a parole violation report after the fact and to
16
     alter and falsify the official records to hide their misdeeds.
17
             59.   Defendants Judy Mesick, Mark Alan Kubinski and Sandy Jones, after receiving
18
     notice of Plaintiff’s suit in the Pringle v. Gentry matter, conspired with Defendants Dan
19
     Fruchtenicht, Sylvia Diaz, Jeff Green and Christopher Smalling to enter notes into ICAOS
20

21   indicating that Plaintiff had absconded, after which time Defendant Sandy Jones simply issued a

22   nationwide, no-bond parole commissioner’s arrest warrant into NCIC against Plaintiff on the

23   alleged basis of absconding.

24           60.   To date, Plaintiff has never been served with any written or oral notice of any

25   parole violation from the YCPD or the Idaho Parole Commission, nor has she been allowed an

26   opportunity to defend against the false parole violation in any manner, including through an

27   impartial evidentiary hearing.
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 15
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 16 of 28



 1          61.    Pursuant to ICAOS Rule 4.109-2: “If there is reason to believe that an

 2   offender has absconded, the receiving state shall attempt to locate the offender. Such
 3   activities SHALL include but are not limited to: (1) conducting a field contact at the
 4   last known place of residence; (2) contacting the last known place of employment, if
 5   applicable; and (3) contacting known family members and collateral contacts.”
 6          62.    Plaintiff has not moved from her official parole address of 2544 Allen
 7   Circle in Woodland, California; Plaintiff has had no direct contact with any officer, agent
 8
     or employee at the YCPD since May 1, 2017 (other than calling the check-in number for
 9
     the YCPD Telephone Reporting System); no attempt has been made to contact her by any
10
     agent or employee of the YCPD, including Defendants Fruchtenicht or Diaz; and none of
11
     Plaintiff’s family members have been contacted by Defendants Fruchtenicht or Diaz, or
12
     anyone else working for YCPD.
13
            63.    Specifically, Defendants Diaz and Fruchtenicht failed to contact Plaintiff’s
14
     sister, Mika Pringle Tolson, with whom Plaintiff resided. Plaintiff’s sister was listed on
15
     Plaintiff’s Interstate Compact Application for parole transfer from Idaho to California as
16
     being the family member responsible for Plaintiff. Furthermore, Plaintiff completed at
17
     least four in-person check-in forms at the YCPD between January and April 2017 where
18
     she listed Mika Pringle Tolson as both a family member with whom Plaintiff resided and
19
     Plaintiff’s emergency contact and included Ms. Tolson’s telephone number on the forms.
20

21   Ms. Tolson’s telephone number as listed on Plaintiff’s contact forms on file with the

22   YCPD has not changed to date. Thus, at all relevant times here, Defendants Fruchtenicht

23   and Diaz had full knowledge of the proper manner in which to contact Plaintiff and her

24   sister but failed to do so, in violation of ICAOS Rules.

25          64.    Defendants’ Diaz and Fruchtenicht’s failure to contact Ms. Tolson was an

26   intentional act to obfuscate that they had conspired with Defendants Mark Alan Kubinski,

27   Judy Mesick and Sandy Jones to issue a false parole violation that they hoped would
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 16
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 17 of 28



 1   result in the arrest of Plaintiff. Said intentional act was a deliberate violation of ICAOS rules

 2   which a reasonable person in Defendants’ Diaz and Fruchtenicht’s position would have known
 3   was a violation of Plaintiff’s right to due process and equal protection of the law.
 4          65.    California Defendants Diaz, Fruchtenicht, and one or more Doe Defendants, in
 5   conspiracy with Idaho Defendants Kubinski, Mesick and Jones, continued to violated ICAOS
 6   rules by submitting a false ex post facto violation report through the ICAOS system (initiated in
 7   Woodland and Sacramento, California) in support of their prior allegations that Plaintiff had
 8
     absconded supervision.
 9
            66.    Defendants Green and Smalling and one or more Doe Defendants, in conspiracy
10
     with the Idaho Defendants, violated ICAOS rules by their processing through ICOTS a false, ex
11
     post facto parole violation report against Plaintiff which alleged absconding and which did not
12
     comport with mandatory ICAOS Rules.
13
            67.    Furthermore, Defendants Mark Alan Kubinski, Judy Mesick and Sandy Jones
14
     conspired with one another and with Defendants Sylvia Diaz, Dan Fruchtenicht or other agents
15
     of the YCPD to falsify Plaintiff’s parole file maintained at YCPD and online on the ICAOS
16
     database system, and to enter false data into the ICAOS system which indicated that Plaintiff had
17
     absconded.
18
            68.    Plaintiff is informed and believes that the false parole violation report, which has
19
     resulted in a nationwide no-bond arrest warrant entered against her in the NCIC system, will
20

21   ultimately subject her to re-incarceration for a period of up to two and a half years.

22          69.    While Idaho law (including Title 20 of the Idaho Code and Section 50 of the Idaho

23   Administrative Procedures Act (IDAPA)) does technically provide for an evidentiary hearing

24   during which the allegation of absconding would be subjected to proof, Plaintiff maintains from

25   her experience and knowledge that the due process provided to parolees during those hearings is

26   extremely limited. Traditional Rules of Evidence do not apply; and the hearing officer is not

27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 17
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 18 of 28



 1   impartial, as they are employees of the Parole Commission, which Plaintiff has sued

 2   several times.
 3          70.       Once Plaintiff is taken into custody on the parole violation warrant, the
 4   Defendants’ allegations of absconding would thus likely be sustained, even without
 5   evidentiary proof of a valid violation.
 6          71.       Further, Plaintiff is fearful of being under the power and control of Idaho
 7   officials once again, given their history of doling out extreme psychological torture to her
 8
     and other individuals in the past in retaliation for filing grievances and legal actions.
 9
     Interference with the Pringle v. Gentry Suit
10
            72.       On March 28, 2018, a hearing was held on Defendants’ Motion to Dismiss
11
     Plaintiff’s complaint in the Pringle v. Gentry matter. Plaintiff appeared at the hearing
12
     telephonically.
13
            73.       Instead of arranging for a telephonic appearance (which would have been
14
     customary), Defendants’ counsel in that matter, Defendant Elisa Sue Magnuson, flew
15
     from Idaho to California and personally appeared at the hearing in Sacramento,
16
     California.
17
            74.       Plaintiff contends that Defendants Kubinski, Mesick and Jones conspired
18
     with Defendant Magnuson to arrange for Plaintiff to be detained before the hearing by a
19
     deputy Marshal working out of the U.S. Marshal’s office located in the same building as
20

21   the U.S. District Court for the Eastern District of California, where the hearing was

22   scheduled to be held.

23          75.       Plaintiff further contends that their plan was to effectuate an arrest of

24   Plaintiff on the false and retaliatory parole violation warrant issued by the Defendant

25   Jones and extradite her back to Idaho, in an effort to prevent Plaintiff from testifying at

26   the hearing and pursuing her litigation against the Idaho defendants.

27

28

                           COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 18
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 19 of 28



 1          76.    Plaintiff also has received information from confidential sources that between

 2   February 2017 and April 2018, Defendant Magnuson engaged in several ex parte
 3   communications with Magistrate Judge Allison Claire (the assigned magistrate on the Pringle v.
 4   Gentry matter) regarding Plaintiff and Plaintiff’s claims, including just prior to commencement
 5   of the hearing on Defendants’ Motion to Dismiss on March 28, 2018, with a goal of preventing
 6   Plaintiff from testifying at the hearing and disposing of the case.
 7
                                   FIRST CAUSE OF ACTION
 8                  DEPRIVATION OF CONSTITUTIONAL RIGHTS AND PRIVILEGES
                                      (42 U.S.C. Section 1983)
 9                 th     th
                  5 and 14 Amendment-Procedural and Substantive Due Process Violations
10                                    [Against All Defendants]

11          77.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if

12   they were fully set forth herein.
13          78.     The Defendants named herein personally participated, or conspired with others
14
     who personally participated, in deliberate actions designed to deprive Plaintiff of her
15
     constitutional right to procedural and substantive due process rights, as protected by the Fifth and
16
     Fourteenth Amendments to the United States Constitution.
17

18          79.     These actions included violating Plaintiff’s rights under the Rules of the Interstate

19   Commission for Adult Offender Supervision and for issuing an unlawful parole violation against

20   Plaintiff without either substantive or procedural due process.
21
            80.     The actions undertaken by Defendants had no genuine penological purpose, nor
22
     were they designed to achieve any legitimate governmental goal or interest.
23
            81.     The actions of Defendants were willful, wanton, oppressive, reckless, cruel,
24
     oppressive, and purposefully done with callous and deliberate indifference to Plaintiff’s federally
25

26   protected rights and other laws. These acts were perpetrated while Defendants were acting in

27   their official capacities and under color of state law.
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 19
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 20 of 28



 1           82.     Defendants, and each of them, engaged in, knew about or should have
 2   known about the acts and/or omissions that caused the constitutional deprivations alleged
 3
     herein, but failed to prevent them and/or ratified/approved them and/or acquiesced to
 4
     them.
 5
             83.     Defendants, and each of them, committed the aforementioned acts and
 6

 7   omissions in bad faith and with knowledge that their conduct violated well-established

 8   law.

 9           84.     As a direct and proximate result of said acts and/or omissions by
10
     Defendants, Plaintiff suffered, continues to suffer, and is likely to suffer in the future,
11
     nervousness, anxiety, post-traumatic stress syndrome (PTSD), depression, extreme and
12
     severe mental anguish, mental and physical pain and injury, fright, shock, humiliation,
13
     indignity, embarrassment and apprehension. For such injuries, she has incurred and will
14

15   continue to incur significant damages.

16           85.     The aforementioned acts and omissions of Defendants were committed by
17   each of them knowingly, willfully and maliciously. By reason thereof, Plaintiff is
18
     entitled to punitive and exemplary damages from Defendants according to proof.
19
                                 SECOND CAUSE OF ACTION
20                 DEPRIVATION OF CONSTITUTIONAL RIGHTS AND PRIVILEGES
                                     (42 U.S.C. Section 1983)
21                                th
                                14 Amendment Equal Protection
22                                   [Against All Defendants]

23           86.     Plaintiff re-alleges and incorporates by reference the preceding paragraphs

24   as if they were fully set forth herein.
25           87.     The Defendants named herein personally participated, or conspired with
26
     others who personally participated, in deliberate actions designed to deprive Plaintiff of
27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 20
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 21 of 28



 1   her constitutional right to equal protection under the law, as provided by the Fourteenth
 2   Amendment to the United States Constitution.
 3
            88.     The actions of Defendants were willful, wanton, oppressive, reckless, cruel,
 4
     oppressive, and purposefully done with callous and deliberate indifference to Plaintiff’s federally
 5
     protected rights and other laws. These acts were perpetrated while Defendants were acting in
 6

 7   their official capacities and under color of state law.

 8          89.     These actions included failing to provide Plaintiff equal protection of the law with

 9   respect to the Rules of the Interstate Commission for Adult Offender Supervision.
10
            90.     Defendants, and each of them, engaged in, knew about or should have known
11
     about the acts and/or omissions that caused the constitutional deprivations alleged herein, but
12
     failed to prevent them and/or ratified/approved them and/or acquiesced to them.
13
            91.     Defendants, and each of them, committed the aforementioned acts and omissions
14

15   in bad faith and with knowledge that their conduct violated well-established law.

16          92.     The actions undertaken by Defendants had no genuine penological purpose, nor
17   were they designed to achieve any legitimate governmental goal or interest.
18
            93.     As a direct and proximate result of said acts and/or omissions by Defendants,
19
     Plaintiff suffered, continues to suffer, and is likely to suffer in the future, nervousness, anxiety,
20
     post-traumatic stress syndrome (PTSD), depression, extreme and severe mental anguish, mental
21

22   and physical pain and injury, fright, shock, humiliation, indignity, embarrassment and

23   apprehension. For such injuries, she has incurred and will continue to incur significant damages.

24          94.     The aforementioned acts and omissions of Defendants were committed by each of
25   them knowingly, willfully and maliciously. By reason thereof, Plaintiff is entitled to punitive
26
     and exemplary damages from Defendants according to proof.
27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 21
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 22 of 28



 1

 2

 3
                                         THIRD CAUSE OF ACTION
 4                    DEPRIVATION OF CONSTITUTIONAL RIGHTS AND PRIVILEGES
                                            (42 U.S.C. Section 1983)
 5                 First Amendment Retaliation and Eighth Amendment Calculated Harassment
                                            [Against All Defendants]
 6

 7           95.      Plaintiff re-alleges and incorporates by reference the preceding paragraphs

 8   as if they were fully set forth herein.

 9           96.      The individual Defendants named herein personally participated, or
10
     conspired with other who personally participated, in deliberate actions designed to
11
     deprive Plaintiff of her constitutional right to be protected against retaliation and
12
     calculated harassment for the exercise of her First Amendment right to petition for
13
     redress of wrongs. Said violations have had a chilling effect on Plaintiff’s free speech
14

15   rights, in violation of the First Amendment.

16           97.      These actions included deliberately refusing to follow the provisions of the
17   Rules of the Interstate Commission for Adult Offender Supervision with respect to
18
     Plaintiff, issuing an unlawful parole violation arrest warrant against Plaintiff, and
19
     interfering with the Pringle v. Gentry suit, in retaliation for Plaintiff’s exercise of her
20
     First Amendment rights.
21

22           98.      The actions of Defendants were willful, wanton, oppressive, reckless,

23   cruel, oppressive, and purposefully done with callous and deliberate indifference to

24   Plaintiff’s federally protected rights and other laws. These acts were perpetrated while
25   Defendants were acting in their official capacities and under color of state law.
26
             99.      Defendants, and each of them, engaged in, knew about or should have
27
     known about the acts and/or omissions that caused the constitutional deprivations alleged
28

                          COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 22
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 23 of 28



 1   herein, but failed to prevent them and/or ratified/approved them and/or acquiesced to them.
 2          100.    Defendants, and each of them, committed the aforementioned acts and omissions
 3
     in bad faith and with knowledge that their conduct violated well-established law.
 4
            101.    The actions undertaken by Defendants had no genuine penological purpose, nor
 5
     were they designed to achieve any legitimate governmental goal or interest.
 6

 7          102.    As a direct and proximate result of said acts and/or omissions by Defendants,

 8   Plaintiff suffered, continues to suffer, and is likely to suffer in the future, nervousness, anxiety,

 9   post-traumatic stress syndrome (PTSD), depression, extreme and severe mental anguish, mental
10
     and physical pain and injury, fright, shock, humiliation, indignity, embarrassment and
11
     apprehension. For such injuries, she has incurred and will continue to incur significant damages.
12
            103.    Defendants’ acts constituted a pattern and practice of calculated harassment
13
     against Plaintiff over a period of several years, in violation of the Eighth Amendment.
14

15   Defendants’ conduct also constitutes acts intended with malice and oppression as to Plaintiff

16   such that Plaintiff is entitled to punitive damages.
17                                      FOURTH CAUSE OF ACTION
                           Violation of 14th Amendment-Equal Protection of the Law
18
                                  Violation of California Penal Code §136.1(a)
19                          [Against Defendants Mark Alan Kubinski, Judy Mesick,
                                     Sandy Jones and Elisa Sue Magnuson]
20
            104.    Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
21

22   they were fully set forth herein.

23          105.    Plaintiff alleges that at all times mentioned herein, the conduct Defendants Mark

24   Alan Kubinski, Judy Mesick, Sandy Jones and Elisa Sue Magnuson constituted interference or
25   attempted interference with the exercise of enjoyment by Plaintiff of rights secured by the
26
     Constitution of laws of the United States, or secured by the Constitution or laws of the state of
27
     California, including the right to petition the government for redress of wrongs, under the First
28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 23
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 24 of 28



 1   Amendment, and the right to testify as a witness on her own behalf, with regard to the
 2   matter entitled Pringle v. Gentry.
 3
            106.    California Penal Code §136.1(a) provides in relevant part:
 4
            “Any person who does any of the following is guilty of a public offense and shall be
 5          punished by imprisonment in a county jail for not more than one year or in the state
            prison:
 6
            (2) Knowingly and maliciously attempts to prevent or dissuade any witness or victim
 7          from attending or giving testimony at any trial, proceeding, or inquiry authorized
            by law.
 8
            (c) Every person doing any of the acts described in subdivision (a) or (b) knowingly and
 9          maliciously under any one or more of the following circumstances, is guilty of a felony
            punishable by imprisonment in the state prison for two, three, or four years under any of
10          the following circumstances:

11           (2) Where the act is in furtherance of a conspiracy.“

12
            107.    Defendants Mark Alan Kubinski, Judy Mesick, Sandy Jones and Elisa Sue
13

14   Magnuson personally participated in violating Plaintiff’s right to equal protection under

15   the law by violating the provisions of California Penal Code §136.1(a), a felony act.

16          108.    As a direct cause of Defendants’ Mark Alan Kubinski, Judy Mesick,
17
     Sandy Jones and Elisa Sue Magnuson conduct, Plaintiff’s rights were violated, causing
18
     injuries, harm and damages in an amount to be proven at trial.
19
            109.    Plaintiff contends that the named Defendants’ conduct was a substantial
20
     factor in causing harm to Plaintiff.
21

22          110.    As a direct cause of Defendants’ conduct, Plaintiff’s rights pursuant to

23   California Penal Code §136.1(a) were violated, causing injuries and damages in an
24   amount to be proven at the time of trial.
25

26

27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 24
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 25 of 28



 1                                         FIFTH CAUSE OF ACTION
                                                  42 U.S.C. §1985
 2                                         Civil Rights Conspiracy Claim
 3                                            [Against all Defendants]

 4           111.    Plaintiff re-alleges and incorporates by reference the preceding paragraphs

 5   as if they were fully set forth herein.
 6           112.    Defendants, including Does 1-50, inclusive, agreed amongst themselves to act in
 7
     concert to deprive Plaintiff of her clearly established constitutional rights as protected by the
 8
     First, Fifth, Eighth and Fourteenth Amendments.
 9
             113.    In furtherance of the conspiracy, Defendants engaged in and facilitated numerous
10

11   overt acts in furtherance of the conspiracy, including acting in concert to contrive, create,

12   produce and/or fabricate false disciplinary actions and a false parole violation against Plaintiff.

13           114.    As a direct and proximate result of Defendants’ overt acts and/or omissions,
14
     Plaintiff was deprived of her constitutional rights and subjected to injuries and damages as set
15
     forth herein, and in an amount to be proven at trial.
16
             115.    Plaintiff alleges that the Defendants’ actions of conspiring together against her
17
     arose solely from their personal animus towards Plaintiff as a “Protected Class of One”.
18

19   Specifically, Defendants discriminated against Plaintiff and chose to retaliate against her on the

20   basis of Plaintiff’s legal education and experience, along with discriminating against Plaintiff’s
21   specific religious beliefs which were the catalyst for Plaintiff’s legal and administrative actions
22
     undertaken to protect her and others similarly situated from being harmed by government
23
     officials.
24
                                          SIXTH CAUSE OF ACTION
25                                Violation of Civil Rights (MONELL CLAIMS)
26                                    [Against Defendant Dan Fruchtenicht]

27           116.    Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if

28   they were fully set forth herein.

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 25
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 26 of 28



 1            117.   Defendant Dan Fruchtenicht knowingly, with gross negligence, and in
 2   deliberate indifference to the Constitutional rights of citizens, maintained and permitted
 3
     official policies and customs permitting the occurrence of the types of wrongs set forth
 4
     hereinabove and hereafter, including violation of Plaintiff’s rights under the First, Fifth,
 5
     Eighth and Fourteenth Amendments to the United States Constitution.
 6

 7            118.   Plaintiff has a constitutional interest to be free from improper policies and

 8   customs from law enforcement agencies such as the Yolo County Probation Department,

 9   which is run by Defendant Dan Fruchtenicht.
10
              119.   These policies and customs include, but are not limited to, the deliberately
11
     indifferent training of its law enforcement officers and negligent supervision, resulting in
12
     improper violations of professional conduct by way of color of authority.
13
              120.   These policies and customs include failure to conduct adequate
14

15   investigations into probation and parole violation, as herein alleged.

16            121.   Plaintiff is informed and believes, and thereon alleges, that the customs
17   and policies instituted by Defendant Dan Fruchtenicht substantially contributed to the
18
     violations of Plaintiff’s rights. Based upon the principles set forth in Monell v. New York
19
     City Dept. of Social Services (1978) 436 U.S. 658, Defendant Dan Fruchtenicht is liable
20
     for all the injuries sustained by Plaintiff as set forth above.
21

22            122.   Due to the conduct of Defendant Dan Fruchtenicht, Plaintiff has been

23   required to incur attorneys’ fees and will continue to incur attorneys’ fees, all to

24   Plaintiff’s damage, in a sum to be proven at trial and recoverable pursuant to 42 U.S.C.
25   §1988.
26

27

28

                         COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 26
        Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 27 of 28



 1                                             SEVENTH CAUSE OF ACTION
                                                 DECLARATORY RELIEF
 2                                                [Against All Defendants]
 3
             123.         Plaintiff re-alleges and incorporates by reference the preceding paragraphs
 4
     as if they were fully set forth herein.
 5
             124.         An actual controversy exists between Plaintiff and Defendants regarding the
 6

 7   constitutionality of Defendants’ actions taken pursuant to the Interstate Agreement on Detainers,

 8   the Interstate Compact Act, and the parole violation lodged against Plaintiff as stated herein.

 9           125.         Plaintiff is entitled to a declaration of rights with regard to the legality of the
10
     Defendants’ actions described herein.
11

12
                                                    RELIEF REQUESTED
13
                  WHEREFORE, Plaintiff requests the following relief:
14

15           1. For compensatory, general and special monetary damages against each Defendant

16   sued in their individual capacity, jointly and severally, in an amount to be shown according to
17   proof, but in a sum greater than $1,500,000;
18
             2.        For punitive and exemplary damages against each Defendant against each Defendant
19
     sued in their individual capacity, in an amount appropriate to punish Defendants and deter others
20
     from engaging in similar misconduct, as allowed by law;
21

22           3.        For prospective injunctive relief against each Defendant sued in their official

23   capacity, enjoining Defendants from continuing to engage in acts and/or omissions which violate

24   Plaintiff’s constitutional rights;
25                4.     For declaratory relief against each Defendant sued in their official capacity, that
26
     Defendants’ acts, including the lodging of a parole violation against Plaintiff on or about
27
     November 1, 2017, and the intentional interference with the Pringle v. Gentry suit violated the
28

                              COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 27
       Case 1:19-cv-00408-JMM Document 1 Filed 10/18/19 Page 28 of 28



 1   First, Fifth, Eighth and Fourteenth amendments to the U.S. Constitution, California Penal Code
 2   136.1(a), the Interstate Agreement on Detainers, and the Rules of the Interstate Commission for
 3
     Adult Offender Supervision;
 4
            5.   For costs and reasonable attorneys’ fees accrued pursuant to 42 U.S.C. §1988 and as
 5
     otherwise authorized by statute or law;
 6

 7          6.   For an award of interest to Plaintiff to commence from the date of first constitutional

 8   violation; and

 9          7.   For such other and further relief as the Court may deem proper.
10
                                           JURY TRIAL DEMANDED
11
            Plaintiff demands a trial by jury on each of her causes of action.
12

13          Respectfully submitted,                       Dated: October 18, 2019
14

15
     By: _____/S/ Raymond D._Schild_______________
16         Raymond D. Schild
17

18
            Respectfully submitted,                       Dated: October 18, 2019
19

20
     By: _____/S/ Hans W. Herb________________
21         Hans W. Herb
22

23

24

25

26

27

28

                        COMPLAINT FOR CIVIL RIGHTS VIOLATIONS - 28
